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                       Exhibit B

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                         Tier 1 Ordinary Course Professionals

         PROFESSIONAL                 CATEGORY                  DETAILS
COVINGTON & BURLING                 LAW FIRM          COUNSEL – INVESTIGATIONS
FTI CONSULTING                      CONSULTANT        STRATEGIC
                                                      COMMUNICATIONS AND
                                                      PUBLIC RELATIONS
HARPER AND PEARSON                  AUDITORS          AUDIT AND FINANCIAL
                                                      STATEMENT PREPARATION
PRICEWATERHOUSE COOPERS LLP         AUDITORS          FINANCIAL AUDITOR
QUINN EMANUEL URQUHART &
SULLIVAN LLP                        LAW FIRM          DEFENSE COUNSEL
STEPTOE & JOHNSON PLLC              LAW FIRM          CORPORATE COUNSEL
TOWERS WATSON DELAWARE, INC         ACTUARY           PENSION/HEALTH & BENEFITS

                         Tier 2 Ordinary Course Professionals

           PROFESSIONAL              CATEGORY                   DETAILS
AN, TIAN, ZHANG & PARTNERS          LAW FIRM          COUNSEL - IP MATTERS
BASSFORD REMELE PA                  LAW FIRM          DEFENSE COUNSEL
BAX ADVISORS                        CONSULTANT        GENERAL COUNSEL ADVISOR
BAYS LUNG ROSE HOLMA
ATTORNEYS AT LAW                    LAW FIRM          DEFENSE COUNSEL
BOND, SCHOENECK & KING PLLC         LAW FIRM          DEFENSE COUNSEL
BOONE KARLBERG PC                   LAW FIRM          DEFENSE COUNSEL
                                    GOVERNMENT        GOVERNMENT RELATIONS /
BOY SCOUTS PARENTS INC              RELATIONS         LOBBYIST
                                                      CANADIAN IMMIGRATION
CAROLINA FRIDMAN LAW CORP           LAW FIRM          COUNSEL
CCPIT PATENT & TRADEMARK LAW        PATENT/TRAD       PATENT/TRADEMARK
OFFICE                              EMARK             COUNSEL
CIVILLE & TANG PLLC                 LAW FIRM          DEFENSE COUNSEL
CLARKE SLIVERGLATE PA               LAW FIRM          DEFENSE COUNSEL
CONNELL FOLEY LLP                   LAW FIRM          DEFENSE COUNSEL
CRANFILL SUMNER & HARTZOG LLP       LAW FIRM          DEFENSE COUNSEL
CROTTY & SCHLITZ LLC                LAW FIRM          INVESTIGATIONS COUNSEL
DENTONS US LLP                      LAW FIRM          DEFENSE COUNSEL
FLOYD, PFLUEGER & RINGER, P.S.      LAW FIRM          DEFENSE COUNSEL
FOLAND WICKENS ROPER HOFER          LAW FIRM          DEFENSE COUNSEL
FOX ROTHSCHILD LLP                  LAW FIRM          COUNSEL - IP MATTERS
FREDRIKSON & BYRON, P.A.            LAW FIRM          DEFENSE COUNSEL
GEROLAMO MCNULTY DIVIS &
LEWBART PC                          LAW FIRM          DEFENSE COUNSEL
GRANT THORNTON                      AUDITORS          COUNSEL - IRS 4958 MATTERS
GREFE & SIDNEY PLC                  LAW FIRM          DEFENSE COUNSEL
GRUBER THOMAS & CO                  LAW FIRM          EMPLOYMENT COUNSEL
HAWLEY TROXELL ENNIS &              LAW FIRM          DEFENSE COUNSEL
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        PROFESSIONAL                   CATEGORY                  DETAILS
HAWLEY LLP
                                     GOVERNMENT       GOVERNMENT RELATIONS /
HECHT SPENCER & ASSOCIATES INC       RELATIONS        LOBBYIST
HEPLERBROOM LLC                      LAW FIRM         DEFENSE COUNSEL
HINSHAW & CULBERTSON LLP             LAW FIRM         DEFENSE COUNSEL
                                     FINANCIAL
HOWARD & CO., LLP                    FIRM             TAX PREPARATION
HUESTON HENNIGAN                     LAW FIRM         DEFENSE COUNSEL
JONES, SKELTON & HOCHULI, P.L.C.     LAW FIRM         DEFENSE COUNSEL
KELEHER & MCLEOD PA,
ATTORNEYS AT LAW                     LAW FIRM         DEFENSE COUNSEL
KELLER & ALMASSIAN PLC               LAW FIRM         DEFENSE COUNSEL
KIPP AND CHRISTIAN PC                LAW FIRM         DEFENSE COUNSEL
                                                      MATCH SAVINGS PLAN
LCG ASSOCIATES, INC                  CONSULTANT       CONSULTING
LEWIS BRISBOIS BISGAARD & SMITH,
LLP                                  LAW FIRM         DEFENSE COUNSEL
LIGHTFOOT FRANKLIN & WHITE LLC       LAW FIRM         DEFENSE COUNSEL
LOCKE LORD LLP                       LAW FIRM         DEFENSE COUNSEL
MANDELL MENKES, LLC                  LAW FIRM         DEFENSE COUNSEL
MARKOWITZ HERBOLD GLADE AND
MEHLHAF PC                           LAW FIRM         DEFENSE COUNSEL
MCANGUS GOUDELOCK & COURIE           LAW FIRM         DEFENSE COUNSEL
MCGUIRE WOODS LLP                    LAW FIRM         DEFENSE COUNSEL
MCGUIRE, CRADDOCK & STROTHER
PC                                   LAW FIRM         DEFENSE COUNSEL
MCLANE MIDDLETON PROF ASSOC          LAW FIRM         DEFENSE COUNSEL
                                                      SPECIAL PROJECT
MEAD & HUNT INC                      CONSULTANT       CONSULTANT
MELICK PORTER LLP                    LAW FIRM         DEFENSE COUNSEL
MILLER & MARTIN PLLC                 LAW FIRM         DEFENSE COUNSEL
MILLER JOHNSON SNELL &
CUMMISKEY PLC                        LAW FIRM         DEFENSE COUNSEL
                                                      ACTUARY - INSURANCE
MILLIMAN USA INC                     ACTUARY          RESERVES
MITCHELL, WILLIAMS, SELIG, GATES     LAW FIRM         DEFENSE COUNSEL
                                     ACCOUNTING       CANADIAN AUDIT
MNP LLP                              FIRM             CONSULTANT
NICHOLAS W MULICK PA                 LAW FIRM         DEFENSE COUNSEL
                                                      SUPPLY AUDITOR (LICENSEE
NIGRO KARLIN SEGAL & FELDSTEIN       AUDITORS         AUDIT)
NORTON ROSE FULBRIGHT US LLP         LAW FIRM         ASIA TRADEMARK COUNSEL
PARK DIETZ & ASSOCIATES INC          CONSULTANT       DEFENSE EXPERT WITNESS
PERKINS COIE                         LAW FIRM         DEFENSE COUNSEL
RUHTER & REYNOLDS INC                CONSULTANT       DEFENSE COUNSEL
SAUL EWING LLP                       LAW FIRM         DEFENSE COUNSEL
SCHEPER KIM & HARRIS LLP             LAW FIRM         DEFENSE COUNSEL
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          PROFESSIONAL              CATEGORY                 DETAILS
SHEEHY WARE & PAPPAS PC            LAW FIRM         DEFENSE COUNSEL
SITLINGER & THEILER                LAW FIRM         DEFENSE COUNSEL
STICH ANGELL KREIDLER UNKE &
SCATTERGOOD                        LAW FIRM         INVESTIGATIONS COUNSEL
STILLWELL MIDGLEY PLCC             LAW FIRM         DEFENSE COUNSEL
STITES & HARBISON PLLC             LAW FIRM         DEFENSE COUNSEL
TAYLOR PORTER BROOKS &
PHILLIPS LLP                       LAW FIRM         DEFENSE COUNSEL
TEXAS MEDICAL LEGAL
CONSULTANTS                        CONSULTANT       DEFENSE EXPERT WITNESS
THOMPSON COE & O'MEARA LLP         LAW FIRM         DEFENSE COUNSEL
UPSHAW WILLIAMS BIGGERS            LAW FIRM         DEFENSE COUNSEL
VERNIS & BOWLING OF THE
FLORIDA KEYS, P.A.                 LAW FIRM         DEFENSE COUNSEL
VINSON & ELKINS LLP                LAW FIRM         EMPLOYMENT COUNSEL
WHITE AND WILLIAMS LLP             LAW FIRM         DEFENSE COUNSEL
WHITNEY SMITH COMPANY INC.         CONSULTANT       DEFENSE EXPERT WITNESS
WICKER, SMITH, O'HARA, MCCOY &
FORD PA                            LAW FIRM         DEFENSE COUNSEL
WIGGIN & DANA LLP                  LAW FIRM         DEFENSE COUNSEL
WILSON ELSER MOSKOWITZ             LAW FIRM         DEFENSE COUNSEL
WINSTON & STRAWN LLP               LAW FIRM         DEFENSE COUNSEL




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